                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


     NORTHGATE ASSOCIATES, LLLP )
     and VIRGINIA RAND BOWMAN,  )
                                )
               Plaintiffs,      )
                                )         Civil Action No.: 1:08-cv-420
          vs.                   )
                                )
     NY CREDIT FUNDING I, LLC,  )
                                )
               Defendant.       )
                                )

                       MEMORANDUM OPINION AND ORDER

THOMAS D. SCHROEDER, District Judge.

       This matter is before the court on motion of Plaintiffs

Northgate Associates, LLLP (“Northgate”), and Virginia Rand Bowman

(“Bowman”) to preliminarily enjoin Defendant NY Credit Funding I,

LLC (“NY Credit”), from declaring and seeking remedies on defaults

under    a   loan.    (Doc.   21.)     The   parties   have   filed   various

affidavits and other evidence in support of their positions.

(Docs. 24, 25, 26, 27, 28, 30.)         The court has granted the motion

of Transamerica Life Insurance Company (“Transamerica”) and Aegon

USA Realty Advisors, Inc. (“Aegon”), to intervene as parties

plaintiff.      (Doc. 33.)     The motion was subject to an extensive

hearing on July 24, 2008, and is ripe for disposition.

I.     BACKGROUND

       This lawsuit stems from the lending arrangements on the

Northgate Mall (the “Mall”), a shopping center in Durham, North

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Carolina.     Plaintiff Northgate, of which Bowman is a general

partner, owns and operates the Mall.        (Doc. 21, ¶ 1.)     Northgate

has two primary lenders:      Transamerica, which holds the primary

loan in the amount of approximately $58 million that is serviced by

Aegon; and NY Credit, which holds the secondary, subordinated loan

in the amount of $27.5 million.      (Id., ¶¶ 7, 9-10.)     This dispute

stems from performance of the NY Credit loan, which implicates the

rights of all parties under the collective loan documentation.

     The NY Credit loan was closed on June 6, 2007.       Plaintiffs and

NY Credit executed a promissory note (the “Note”) in the amount of

$27.5 million (id., Ex. A) secured by a second deed of trust (the

“Mortgage”) encumbering the Mall.      (Id., Ex. B.)     The Note calls

for Northgate to make monthly interest-only payments, with the

principal due April 1, 2011.      (Id., Ex. A.)     The Note was to pay

off an existing lender and provide construction funds to upfit

unleased portions of the Mall, including a “Life Style” area with

theater.    Bowman also executed a Guaranty for the Note.       (Doc. 26,

Ex. 1.)    Because Transamerica held the primary loan on the Mall, NY

Credit     also   executed   at   closing     an   “Intercreditor”      (or

subordination) agreement, setting forth the rights and obligations

between Transamerica and NY Credit.1        (Doc. 21, Ex. C.)

     At closing, NY Credit disbursed approximately $23 million to


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         Northgate in turn executed a “Borrower’s Acknowledgment and
Consent” in which it acknowledged that the Intercreditor conferred no
rights upon it which it could seek to enforce. (Doc. 21, Ex. C at 32.)

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pay off the prior lender and, pursuant to the loan, held back the

nearly $4.5 million balance, of which $1.8 million was held in

Capital Reserve and Interest Reserve accounts to fund capital

improvements and interest, respectively, while the remaining $2.597

million was available to Northgate upon written demand no earlier

than June 7, 2008.       (Id., ¶¶ 11-14 & Ex. A at 1.)                 NY Credit

appears to have disbursed funds from the reserve accounts to

Northgate’s satisfaction for the ensuing months.

     In August 2007, Northgate located a third party to assume a

separate $1.2 million loan on the Mall theater, thereby freeing up

certificates of deposit collateralizing that loan which were owned

by Bowman’s mother.        (Id., ¶¶ 19-20.)             On August 20, 2007,

Northgate borrowed $100,000 from Bowman’s mother’s CD proceeds,

which Bowman contends John Walsh (“Walsh”), a NY Credit agent (now

apparently no longer employed by NY Credit), orally approved.

(Id., ¶ 21.)

     On September 17, 2007, Northgate sought to obtain a $2 million

unsecured   line   of   credit   with       a   third-party    bank,   which   was

permitted by the NY Credit loan.            (Id., ¶ 23.)      Because the third-

party bank demanded that the line of credit be secured by property

unencumbered by NY Credit’s lien (a requirement not expressly

contemplated by the NY Credit loan), NY Credit demanded the right

to review and approve it.         (Id., ¶ 23.)          NY Credit ultimately

approved a line of credit for $750,000, but Northgate alleges that


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NY Credit’s delay in doing so required it to obtain a $140,000 loan

from Bowman’s father to fund expenses. (Id., ¶¶ 24-25.) Northgate

claims that NY Credit was “put on notice” of this loan and “did not

complain.”       (Id., ¶ 24.)

      By December 2007, Northgate “began to have difficulty working

with NY Credit,” including obtaining access to information about

balances in the Interest Reserve account.                 (Id., ¶¶ 26-27.)          By

February       2008,   Northgate    and   NY    Credit    began    discussions      to

restructure or refinance the loan, which continued through April

2008.     (Id., ¶¶ 28-31.)      NY Credit claims that, through the process

and   after     reviewing     Bowman’s    January       2008    updated   financial

statements, it discovered several defaults under the Mortgage,

which     NY    Credit   detailed    in   an    April     30,    2008,    letter   to

Plaintiffs.       (Id., Ex. F.)      Relevant for purposes of the present

motion, NY Credit claimed the following:

      •        Failure of Bowman to maintain a net worth of $10 million,

               required by section 28(l) of the Mortgage.                 NY Credit

               premised this claim on its view that the Mall’s value had

               allegedly declined by millions of dollars since June 2007

               to the point that Bowman’s net worth (based largely on

               her investment in the Mall) had fallen below the $10

               million required by the loan.

      •        Failure   to   disclose        partner    loans,    including       the

               August 20, 2007, loan for $100,000, and the September 17,


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              2007, loan for $140,000. NY Credit also claimed that the

              January 2008 financials revealed for the first time the

              $500,000 December 2006 loan from Bowman’s mother, which

              predated the NY Credit loan and was never disclosed as

              “Permitted Indebtedness” under section 29(a)(iv) of the

              Mortgage. NY Credit claimed these loans required written

              consent under section 28(i) of the Mortgage, which NY

              Credit did not, and would not, give.2

(Id., Ex. F.)           NY Credit claimed that these defaults under the

Mortgage permitted acceleration of the loan balance and invoked a

loan provision that it contends permits it to refuse to advance

additional funds.           (Id., Ex. F at 2-3.)         NY Credit specifically

noted       that   it     “preferred   to       avoid   instituting   foreclosure

proceedings.”       (Id., Ex. F at 3.)

     In a May 5, 2008, letter to Plaintiffs, NY Credit denied that

its April 30 letter was a “default notice” under the loan but

continued to maintain that the conditions cited therein constituted

“defaults” that justified withholding further funds under the loan.

(Id., Ex. H.)           NY Credit continued to preserve all rights to all

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        NY Credit also claimed that Northgate lacked a “clear marketing
strategy” and thus failed to manage the property properly in violation
of section 6(f) of the Mortgage (Doc. 26, ¶ 8), and that Northgate failed
to disclose another $250,000 loan before closing. Under the guise of
mismanagement, NY Credit also makes much of alleged incidents of criminal
activity and a death that occurred in the Mall parking lot. NY Credit
has abandoned the mismanagement argument for purposes of this motion only
(Doc. 23 at 8), however, and at the hearing withdrew its argument as to
the $250,000 loan.


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remedies under the loan documents, without further explanation.

(Id., Ex. H at 2.)

           On May 1, 2008, Northgate requested a draw of $140,917.84

from the Capital Reserve account for construction work.                       (Id., ¶

37.)       NY Credit “ignored or refused that request,” ostensibly on

the grounds stated in the April 30 letter that cited alleged

defaults.      (Id., ¶ 37.)

       Northgate failed to make the $177,0003 May interest payment

due on May 6, 2008.           (Id., Ex. I; Doc. 26, ¶ 48.)              On May 15,

Northgate requested that NY Credit fund the interest payment

partially from the $88,615.18 remaining in the Interest Reserve

account, although there is no evidence Northgate tendered the

balance due.        (Doc. 21, ¶ 38 & Ex. G.)                 NY Credit refused to

release      the   funds   in   a    letter     dated    May    19,   2008,    citing

Northgate’s failure to make the May interest payment, as well as

the    conditions     cited     in   the       April    30   letter   (absent     the

mismanagement ground), as “Events of Default” under the loan.

(Id., Ex. I.)

       By letter of June 10, 2008, NY Credit notified Plaintiffs

(without consent of Transamerica or Aegon) that it was exercising

its rights under Mortgage § 25(a)(viii)(B) and (C) to declare a

“Cash Trap” period, requiring all rent deposits to be directed into

an escrow account to be swept daily by NY Credit to pay expenses.


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            NY Credit puts the figure at $171,517.61.          (Doc. 26, ¶ 44.)

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(Id., Ex. K at 2.)        During the Cash Trap, Northgate was denied

access to proceeds and rents from the Mall.                 (Id., ¶ 54.)     NY

Credit also demanded that Northgate engage a professional third-

party property manager for the Mall during the Cash Trap period,

pursuant to section 6 of the Mortgage.            (Id., Ex. K at 2.)

     On June 13, 2008, Plaintiffs filed this action in the Superior

Court for Durham County, North Carolina, and obtained an ex parte

Temporary Restraining Order (“TRO”) upon posting a bond of $1,000.

(Doc. 1, Exs. 2, 5.)      The TRO ordered NY Credit to rescind the Cash

Trap and enjoined it from declaring and pursuing any defaults.

(Id., Ex. 5.)      NY Credit removed this action to this court on June

24, 2008, based on diversity jurisdiction.               The TRO was extended

twice by consent — once to accommodate a hearing on the motion for

Preliminary Injunction, and most lately until August 5, 2008.

(Id.,   Ex.   6;   Doc.   31.)     In   the    Amended   Verified    Complaint,

Plaintiffs allege the following causes of action: (1) Declaratory

Judgment as to the Note and Mortgage; (2) Declaratory Judgment as

to the Intercreditor; (3) Breach of Contract as to the Note and

Mortgage; (4) Breach of Covenant of Good Faith and Fair Dealing;

(5) Unfair and Deceptive Trade Practices (though no statutory

authority     is   cited);   and   (6)       Interference   with    Contractual

Relations.    (Doc. 21.)

     In the present motion, Plaintiffs seek to enjoin NY Credit

from taking any action predicated upon any of the alleged defaults


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(including contacting tenants, interfering with payments of rents

or implementing the Cash Trap, imposing a third party manager, or

instituting foreclosure proceedings), and from declaring further

defaults.4     Plaintiffs argue generally that all alleged events of

default were pretexts upon which NY Credit seeks to accelerate the

loan.       Plaintiffs maintain that NY Credit’s refusal to release

funds from the Capital Reserve and Interest Reserve accounts for

construction and interest, as the loan contemplated, was wrongful

and forced Northgate to use its limited funds to pay contractors to

avoid construction liens on the Mall (an event of default of the

Transamerica loan) rather than to pay the May 6, 2008, interest

payment.

     Plaintiffs and NY Credit have presented conflicting evidence

on the declared defaults:

     •        Bowman’s Net Worth: Plaintiffs filed the affidavit of

              Raymond Cirz of Integra Realty Resources — New York and

              his appraisal effective July 2, 2008 that values the Mall

              “as is” at $95 million, with an estimated value of $105

              million upon completion of upfit.       (Doc. 27.)     These

              valuations would provide adequate net worth to Bowman

              required by the loan.   Integra is the same appraiser NY

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        Plaintiffs also seek to enjoin NY Credit broadly “from taking any
other action or exercising any other remedy related to Plaintiffs’ past
and current performance of their obligations under the Note, Mortgage,
and/or Subordination Agreement [Intercreditor]” and to direct rescission
of the Cash Trap. (Doc. 21 at 28.) The latter has already occurred, as
noted infra.

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          Credit hired to appraise the Mall for the June 6, 2007,

          loan.     (Doc.   28,    ¶   22.)      NY    Credit   contends     this

          appraisal is no longer valid and has offered a competing

          appraisal by Lee Holliday of CB Richard Ellis which

          values the Mall “as is” as of June 23, 2008, at $61.5

          million — $33.5 million less than the Integra appraisal.

          (Doc. 24.)    NY Credit contends that the CBRE appraisal

          would render Bowman’s net worth negative and result in a

          loss of $11.5 million.           (Doc. 26, ¶ 42.)5

     •    August 20, 2007, $100,000 loan: Bowman testified that NY

          Credit agent Walsh “specifically agreed” orally to this

          loan and never requested a writing.6            (Doc. 28, ¶ 6.)      NY

          Credit contends that it did not know of the loan, that

          the loan was not “Permitted Indebtedness,” and that

          written   consent,      required     by     section   28(i)   of    the

          Mortgage, was never obtained.          (Doc. 26, ¶¶ 31, 33.)         No

          one has presented testimony from Walsh.

     •    September 17, 2007, $140,000 loan: Bowman testified that

          Walsh also “specifically agreed to the request” for this


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         Notably, NY Credit’s claim is an historical loss of $11.5
million.   The CBRE appraisal does not appear to forecast whether NY
Credit would suffer further loss if an injunction is entered, or how
much.
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         See Fundamental Portfolio Advisors, Inc. v. Tocqueville Asset
Mgmt., LP, 850 N.E.2d 653, 658 (N.Y. Ct App. 2006) (holding contractual
requirement of written consent may be waived if knowingly, voluntarily
and intentionally abandoned).

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           loan. (Doc. 28, ¶ 7.) Plaintiffs also contend that they

           needed these funds because NY Credit was slow to approve

           the $2 million line of credit that was to have provided

           funding for ongoing upfit. (Id.) NY Credit again claims

           that it was unaware of the loan, that the loan was not

           “Permitted Indebtedness” under the Mortgage, and that no

           written    consent,   as     required      by    section      28(i)   the

           Mortgage, was obtained. (Doc. 26, ¶ 31.)                 Again, no one

           has presented testimony from Walsh.

     •     December 2006 $500,000 loan: Bowman testified that this

           loan was not disclosed before closing on the Disclosure

           Agreement’s Schedule 9 listing Northgate’s “Permitted

           Indebtedness” (Id., Ex. 8 (Sch. 9)) as required by

           section 28(i) of the Mortgage because she disclosed it to

           Walsh,    who   understood      her    plan   to   pay   it    with   the

           proceeds of the loan.           (Doc. 28, ¶ 5.)          She testified

           that NY Credit withdrew that authority the night before

           the June 6, 2007, loan closing.                 (Id.)    Thus, Bowman

           testified, NY Credit was aware of the loan, and any

           failure    to    update     the       Schedule     9    of    “Permitted

           Indebtedness,” a document drafted by NY Credit, was not

           Plaintiffs’ fault.7        (Id.)      NY Credit testified that it


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         Plaintiffs also argue that their allegedly unapproved partner
loans are not material because they do not raise Northgate’s total
indebtedness beyond that contemplated by the NY Credit loan documentation

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          was unaware of the loan and would not have proceeded with

          the closing had it known.               (Doc. 26, ¶ 32.)         It also

          points to the fact that another loan from Bowman’s mother

          was    footnoted     on        the    Schedule    9     of    “Permitted

          Indebtedness” to be paid with proceeds of the loan, thus

          rebutting Plaintiffs’ argument that the $500,000 loan was

          to be treated similarly.

     •    May 6, 2008, Interest Payment: Plaintiffs contend that it

          did not make this payment because NY Credit wrongfully

          withheld     funds    from      the     reserve   accounts,      causing

          Plaintiffs      to   exhaust         then-available     funds    to   pay

          construction companies.              (Doc. 21, ¶ 46.)        Bowman also

          testified that on March 26 and April 24, 2008, Mr. Edward

          J. Santoro of NY Credit specifically agreed to release

          funds from the reserve accounts for such construction.

          (Id., ¶¶ 28, 32.)             Plaintiffs further argue that this

          declaration of alleged default was premature because the

          Mortgage provides a fifteen-day “grace period” (until May

          21) within which Northgate could pay without penalty. NY

          Credit points to the Note, which declares payment due on

          the 6th of every month (id., Ex. A § 1), and the

          Mortgage, which defines an “Event of Default” as a

          failure    to    make     a    payment     when   due    (id.,    Ex.   B


at closing.

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            § 19(a)(i)), and argues that there is no “grace period”

            but rather a monetary penalty for payments made after the

            expiration of fifteen days (id., Ex. A § 6).           (Doc. 23 at

            10 n.3.)      Mr. Santoro has not denied that he made the two

            promises to release funds to pay incurred construction

            costs.

       NY Credit argues that Plaintiffs’ failure to disclose certain

indebtedness undermines the deal it bargained for, that it validly

declared    events   of    default,   and   that   its    only   security    (its

secondary collateralized position in the Mall) is threatened.                  NY

Credit testified that it would not seek to implement the Cash Trap

or appoint a professional third-party manager without the consent

of Transamerica.       (Doc. 29 at 1; Doc. 30, ¶ 4.)               NY Credit’s

counsel repeated this representation to the court at the hearing on

the motion. Transamerica’s counsel represented at the hearing that

his client has not consented to either remedy and is not inclined

to do so presently.        (Doc. 17 at 4.)

II.    ANALYSIS

       A.   Applicable Standard

       A preliminary injunction is an extraordinary remedy employed

in the limited circumstances which clearly demand it.                       Direx

Israel, Ltd. v. Breakthrough Med. Corp., 952 F.2d 802, 811 (4th

Cir. 1991) (internal citations omitted).                 The requirements for

obtaining a preliminary injunction in the Fourth Circuit are set


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forth in Blackwelder Furniture Co. of Statesville, Inc. v. Selig

Mfg. Co., Inc., 550 F.2d 189, 195 (4th Cir. 1977); see also Multi-

Channel TV Cable Co. v. Charlottesville Quality Cable Operating

Co., 22 F.3d 546, 551 (4th Cir. 1994).            Under the Blackwelder

“balance of hardships” test, the four factors to be considered are:

(1) the likelihood of irreparable harm to the plaintiff if the

preliminary injunction is denied; (2) the likelihood of harm to the

defendant if the requested relief is granted; (3) the likelihood

that the plaintiff will succeed on the merits; and (4) the public

interest.   Direx, 952 F.2d at 812.      The balance of hardships “are

the two most important factors,” and that analysis should precede

the determination of likelihood of success.          Id., at 813.        The

hardships balance and the likelihood of success determination are

“separate, sequential steps.”      Id. at 817.8

     Under the first Blackwelder factor, a plaintiff must make a

clear showing of actual and immediate irreparable harm.          550 F.2d

at 195; Direx, 952 F.2d at 812 (quoting Dan River, Inc. v. Icahn,

701 F.2d 278, 284 (4th Cir. 1983)).          Irreparable harm is that

damage that is “incalculable[,] not incalculably great or small,

just incalculable.”    Blackwelder, 550 F.2d at 197.       Injuries such

as loss of the right to continue a business, loss of permanent


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         Both parties have argued whether entry of an injunction would
preserve the status quo.    While preserving the “status quo” is the
rationale underlying a preliminary injunction, it is not an additional,
separate test. Rum Creek Coal Sales, Inc. v. Caperton, 926 F.2d 353, 360
(4th Cir. 1991).

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relationships      with   customers       and    investors,   and    the   loss    of

goodwill built up by a successful enterprise have been found to

constitute irreparable harm. Fed. Leasing, Inc. v. Underwriters at

Lloyd’s, 650 F.2d 495, 500 (4th Cir. 1981); see Multi-Channel, 22

F.3d at 552-53 (affirming district court finding of irreparable

harm due to threat of permanent loss of customers and potential

loss    of   goodwill);    Merrill    Lynch,      Pierce,   Fenner    &    Smith   v.

Bradley, 756 F.2d 1048, 1055 (4th Cir. 1985) (holding irreparable

harm established because Merrill Lynch faced loss of its customers

when broker who left firm attempted to take his former clients with

him); Fairfield Resorts, Inc. v. Fairfield Mountains Prop. Owners

Ass’n, No. 1:06cv191, 2006 WL 2524188, at *4 (W.D.N.C. Aug. 29,

2006) (finding irreparable harm to plaintiff in the form of loss of

goodwill, reputation, and future business);              R.J. Reynolds Tobacco

Co. v. Philip Morris Inc., 60 F. Supp. 2d 502, 509 (M.D.N.C. 1999)

(finding     irreparable    harm     in   lost    goodwill,   lost    advertising

opportunities, threatened loss of market share and threatened loss

of existing and potential customers).               Injury that is capable of

being compensated by an award of money damages at judgment, in

contrast, is generally not irreparable.              Hughes Network Sys., Inc.

v. InterDigital Commc’ns Corp., 17 F.3d 691, 693 (4th Cir. 1994)

(“Mere injuries, however substantial, in terms of money . . . weigh

heavily against a claim of irreparable harm.”) (quoting Sampson v.

Murray, 415 U.S. 61, 90 (1974)).                The requirement of irreparable


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harm must be made by a “clear showing.”            Direx, 952 F.2d at 812.

     The threat of irreparable harm must also be “neither remote

nor speculative.”      Id. (quoting Tucker Anthony Realty Corp. v.

Schlesinger,   888   F.2d   969,   975    (2d    Cir.   1989)).   Thus,   the

irreparable harm to be suffered by a plaintiff must be “both

‘actual’ and ‘immediate.’” Id. at 812 (quoting Dan River, Inc. v.

Icahn, 701 F.2d 278, 284 (4th Cir. 1983)).

     If the plaintiff has made a “clear showing” of irreparable

injury absent injunctive relief, the court must next balance the

likelihood of irreparable harm to the plaintiff if an injunction is

not issued against the likelihood of irreparable harm to the

defendant if an injunction is issued.           Id. at 811; In re Microsoft,

333 F.3d at 526; R.J. Reynolds, 60 F. Supp. 2d at 509-510.

     Only after the court determines the balance of the harms does

it evaluate a plaintiff’s likelihood of success on the merits.

Blackwelder, 550 F.2d at 195; Direx, 952 F.2d at 812-813.            If the

balance “tips decidedly” in favor of the plaintiff, a preliminary

injunction will be granted if “the plaintiff has raised questions

going   to   the   merits   so   serious,   substantial,      difficult   and

doubtful, as to make them fair ground for litigation and thus for

more deliberate investigation.”           Blackwelder, 550 F.2d at 195;

accord In re Microsoft, 333 F.3d at 527; see, e.g., O’Brien v.

Appomattox County, VA, No. 02-2019, 2003 WL 21711347, at *3 (4th

Cir. July 24, 2003) (holding farmers who sought right to apply


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biosolids      to   their    farmland      raised       serious,     substantial,    and

difficult      issues    due    to   Virginia      Supreme       Court    decision   and

Virginia       General       Assembly’s          legislation         limiting     county

restrictions on use of biosolids); Multi-Channel, 22 F.3d at 553

(holding plaintiff established strong likelihood of success on its

conversion claim where it raised questions about whether the cable

equipment it installed on the outside of apartment homes should be

considered fixtures or personalty); Rum Creek, 926 F.2d at 363-55

(holding that Supreme Court cases on federal preemption raised

“serious, substantial, and worthy issues for litigation” concerning

the enforceability of a state labor statute).

       “As the balance tips away from the plaintiff, a stronger

showing on the merits is required.”                 Rum Creek, 926 F.2d at 359.

If    the   plaintiff       fails    to    establish      that     the    balance    tips

“decidedly” in its favor, the showing a plaintiff must make has

been described variably as “a strong showing of likelihood of

success,” “a substantial likelihood of success,” and one based on

“clear and convincing evidence.”                 Direx, 952 F.2d at 818 (quoting

other cases); accord R.J. Reynolds, 60 F. Supp. 2d at 509.                               In

these instances, a probability (not possibility) of success is

required, which “implies that the plaintiff must have a very clear

and   strong    case.”         Direx,     952    F.2d    at   813.       Rarely   will    a

preliminary injunction be granted where the hardship balance does

not tip “decidedly” in favor of plaintiff yet the likelihood of


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success rose only to that sufficient to withstand a motion for

judgment as a matter of law.        Id. at 818 (stating that “to doubt is

to deny”).

     Fourth     and   finally,    the   court        must   evaluate    the   public

interest. Blackwelder, 550 F.2d at 197. Enforcing valid contracts

serves    the   public   interest.        Tolchex,      Inc.   v.   Trainor,      No.

3:08-CV-236 2008 WL 2323232, at *6 (E.D. Va. June 2, 2008); Moller-

Maersk A/S v. Escrub Sys., Inc., No. 1:07cv1276, 2007 WL 4562827,

at *1 (E.D. Va. Dec. 21, 2007).

     B.     Application to Facts

     The first issue is the harm to Plaintiffs in the absence of

injunctive relief.       Plaintiffs claim the following as irreparable

harm:

     •      Loss of control of the Mall (which at the hearing was

            argued to include possible foreclosure);

     •      Loss of access to rents, receivables, and other funds —

            including those in the Capital Reserve and Interest

            Reserve accounts;

     •      Threats of liens on the Mall because of an inability to

            pay   for    upfit,   which      “may”    result   in   a   default   to

            Transamerica;

     •      Inability to pay other creditors, including Transamerica;

     •      Impairment of growth and “vitality” of the Mall through

            loss of tenants and employees; and


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     •     Loss of goodwill as a result of the “negative press

           associated with a takeover, whether wrongful or not.”9

(Doc. 22.)      Each is addressed in turn.

     Loss of control can possibly occur in one of two ways:

appointment of a professional third-party manager, or foreclosure.

As to the former, money damages cannot compensate for the loss of

the opportunity to manage a business which has been under family

control for decades.         See, e.g., Davis v. Rondina, 741 F. Supp.

1115, 1125 (S.D.N.Y. 1990) (holding that loss of role in management

of company plaintiff helped build and for which she guaranteed

substantial loans constitutes irreparable harm); Int’l Equity Inv.,

Inc. v. Opportunity Equity Partners Ltd., 441 F. Supp. 2d 552, 563-

64 (S.D.N.Y. 2006) (finding irreparable injury in frustration,

dilution or loss of control of a business).                  Here,       NY Credit

cannot   (and    has    stipulated   that    it    will    not)   make    such   an

appointment without the consent of intervenor Transamerica, the

primary lender.        (Doc. 21, Ex. C § 10.)             Transamerica has not

consented to such an appointment and represented at the hearing

that it is unlikely to do so, at least on the present record.

     The   threat      of   foreclosure    was    the   primary   focus    of    the

Plaintiffs at the hearing.           Foreclosure, similarly, can cause

     9
        This list is similar to but slightly modified from that alleged
in the Verified Amended Complaint.     (Doc. 21, ¶ 70.)    The Verified
Amended Complaint ties Plaintiffs’ claim of irreparable harm to the
previous implementation (now rescinded) of the Cash Trap and threat of
a professional third-party manager. (Id.) Further, the Verified Amended
Complaint alleges only that such harms “may” result. (Id.)

                                      18




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irreparable harm.     Wonderland Shopping Ctr. Venture Ltd. P’ship v.

CDC Mortgage Capital, Inc., 274 F.3d 1085, 1097 (6th Cir. 2001)

(recognizing irreparable harm of foreclosure on shopping center

following cash trap situation).           While foreclosure is an option

under the loan documents (intervenors and NY Credit dispute whether

the former’s consent is required as a prerequisite), NY Credit has

not filed such an action and has not threatened that one is

imminent. Rather, it has stated that, while foreclosure is a “real

possibility,” it hopes to avoid it — a view that was articulated as

late as the hearing on this motion.         (Doc. 30, ¶ 7.)    Thus, loss of

control, an irreparable injury, does not appear immediate on the

present record.       This may change if a professional third-party

manager is ordered with Transamerica’s consent, or if foreclosure

proceedings become imminent or are instituted.

       Access to rents, receivables and other funds appears not to be

an issue now that the Cash Trap has been suspended.                 NY Credit

cannot re-institute the Cash Trap without Transamerica’s consent.10

Again, Transamerica has not given such consent and has represented

at the hearing that it is “less persuaded than ever” to do so on

the   present    record.     Thus,   this   ground   fails    the   immediacy

requirement.     Hill v. Courter, 344 F. Supp. 2d 484, 490 (E.D. Va.

2004) (finding lack of immediacy where a state inspection, which


       10
         NY Credit’s institution of the Cash Trap appears (at least on
its face) to have been contrary to section 10 of the Intercreditor.
(Doc. 21, Ex. C.)

                                     19




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was sought to be enjoined, was not currently contemplated by

officials).

     Lack of access to the funds in the Capital Reserve and

Interest Reserve accounts, while immediate and ongoing, is money

damages    that    have    not   been    on   this   record   shown   to   cause

irreparable harm.         With the Cash Trap rescinded, Northgate has

access to all rents and receivables.             Northgate indicated at the

hearing that it was able to pay its current obligations, including

the June 2008 interest payment (the parties having deferred payment

of the July 2008 interest payment pending resolution of this

motion). Plaintiffs have not demonstrated Northgate’s current cash

flow or that without the Capital Reserve and/or Interest Reserve

accounts   it     will    default   on   obligations   that   will    result   in

irreparable harm. This may change, however, if NY Credit continues

to press to withhold reserves and consequently puts into motion

activities that cause an immediate threat of irreparable harm and

loss of goodwill — conduct that on its face would not appear to be

in the best interests of NY Credit to the extent it reduces the

value of its collateral.

     Threats of liens have not been shown to be actual or immediate

on this record; indeed, the Verified Amended Complaint alleges they

are “possible.”      (Doc. 21, ¶ 70.)         While Plaintiffs have provided

testimony as to construction debts it paid to avoid liens on the

Mall, they have not provided evidence of any further outstanding


                                         20




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debts to contractors who would hold such liens, nor has there been

any action (threatened or actual) to seek to enforce such liens.

Further, Plaintiffs’ allegation that a lien “may” result in a

default under the     Transamerica loan (id.) lacks a demonstration

that Transamerica is acting (or even would act) on such a default.

This ground is sufficiently remote at present to lack the requisite

immediacy.   Likewise, Plaintiffs have not provided evidence that,

absent an injunction, it will be unable to pay Transamerica, its

senior lender.

     Plaintiffs’ claim of loss of “growth and vitality of the Mall

through loss of tenants and employees” remains speculative on this

record.    Indeed, Plaintiffs have not demonstrated that any tenant

or employee is threatening to leave, or that any prospective tenant

has declined to lease space because of the status of the Mall’s

upfit.11   This, too, may change if NY Credit continues to withhold

loan funds to the point that Northgate can demonstrate that it

threatens an immediate loss of tenants, employees, and/or goodwill.

     Lastly, Plaintiffs argue “irreparabl[e] harm” from the loss of

goodwill   that   “negative   press”    would   engender   if   there   is   a

“takeover, whether wrongful or not.”12          For the reasons discussed

     11
         Indeed, Transamerica and Aegon, through counsel, stated at the
hearing that the key issue for Mall growth is whether there are tenant
opportunities that are accretive to value that Northgate is not
realizing. When the question was put to NY Credit, counsel stated, NY
Credit could not identify any.
     12
         The allegation of generalized loss of goodwill contained in the
Verified Amended Complaint was similarly tied, at least in part, to the

                                   21




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above, while loss of control could result in irreparable harm, it

is not immediate on the present record.             Transamerica has not

indicated it intends to consent to a professional third-party

manager, and foreclosure proceedings (which also require conditions

precedent) are neither pending nor immediate.          So such “negative

press” and resulting loss of goodwill are unlikely at this time.13

     Preliminary injunctive relief is an “extraordinary remedy”

that is “very far reaching” and should be granted only “sparingly.”

Direx, 952 F.2d at 816.      The balance of hardships test does not

negate the requirement of a showing of some irreparable harm.            Rum

Creek, 926 F.2d at 360.     At the present time Plaintiffs have not

made a clear showing that they will suffer immediate irreparable

harm if injunctive relief is not granted.             Rather, they have

alleged actions, including the withholding of loan funds, which no

doubt are making life difficult financially for Plaintiffs and may

subsequently   be   shown   to   rise   to   the   level   of   threatening

irreparable harm.14   But no showing has been made that Plaintiffs

cannot survive financially until the merits of this litigation are

reached, especially since the Cash Trap has been rescinded (a


implementation of the Cash Trap and loss of control.       (Doc. 21, ¶ 70.)
     13
         NY Credit’s claim that it “does not want to own the Mall, it
only wants to ensure that [its loan] is repaid” (Doc. 26, ¶ 51) provides
Plaintiffs scant comfort over fear of losing its more than 40 years of
control over the property.
     14
          The only cash flow information was submitted by NY Credit.
(Doc. 26, Ex. 3). The information was dated and relied on annualized
2008 figures based only on the first quarter of 2008. (Id.)

                                   22




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prerequisite to imposition of a professional third-party manager

under section 6 of the Mortgage) and any future initiation of a

Cash Trap will, by stipulation of NY Credit, require intervenors’

consent, which appears unlikely at present.         Plaintiffs’ alleged

irreparable harm thus remains contingent on future events which may

or may not develop.    Depending on the conduct of the parties, such

harm may come knocking on the door, perhaps even in the near

future, at which time Plaintiffs may renew their motion, but it is

not here quite yet.    Dan River, 701 F.2d 728.15

     Because Plaintiffs have not demonstrated the present threat of

immediate irreparable harm, the court need not address the other

Blackwelder factors at this time.       Direx, 952 F.2d at 816.

III. CONCLUSION

     For the foregoing reasons, Plaintiffs’ Motion for Preliminary

Injunction (Doc. 21), is DENIED, WITHOUT PREJUDICE.             The bond

required on the prior Temporary Restraining Order is released.



                                         /s/ Thomas D. Schroeder
                                        United States District Judge


August 5, 2008




     15
         While Plaintiffs must proceed without an injunction until the
threat of irreparable harm becomes immediate, if it does, Defendant must
proceed knowing that the threat of preliminary relief is not resolved.


                                   23




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